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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO



IN RE: SHALE OIL ANTITRUST LITIGATION                         Case No. 1:24-md-03119-MLG-LF
                                                              Judge Matthew L. Garcia
This Document Relates to:
ALL CASES

           NOTICE OF WITHDRAWAL OF COUNSEL KEVIN J. BANVILLE

       PLEAST TAKE NOTICE that Kevin J. Banville withdraws as counsel for Defendant

Continental Resources, Inc. in this matter. Defendant Continental Resources, Inc. will continue to be

represented by H. Brook Laskey of McCoy Leavitt Laskey LLC and the Proskauer Rose LLP firm

attorneys who have entered appearances in this matter.



                                                      Respectfully submitted,


                                                      McCOY LEAVITT LASKEY LLC

                                                      By: /s/ H. Brook Laskey
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                                                           Attorneys for Defendant
                                                           Continental Resources, Inc.
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 19, 2025 the foregoing pleading was electronically

filed through the Court’s CM/ECF E-Filing System, which caused all parties or counsel to be

served by electronic means.



                                         /s/ H. Brook Laskey
                                         H. Brook Laskey




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